Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 1 of 7




                              EXHIBIT 1
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 2 of 7



                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


    DEFENDANT BUZZFEED INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’
                  FIRST SET OF REQUESTS FOR ADMISSION

            Pursuant to Federal Rule of Civil Procedure 36, Defendant Buzzfeed, Inc. (“BuzzFeed”), by

  and through its attorneys, hereby responds and objects as follows to Plaintiffs’ First Set of Requests

  for Admission (the “Requests”).

                                  RESPONSES AND OBJECTIONS

  Request No. 1: Admit that, prior to Buzzfeed’s publication of the Dossier, you made no attempt to
     contact Gubarev.

  Response: Admitted.

  Request No. 2: Admit that, prior to Buzzfeed’s publication of the Dossier, you made no attempt to
     contact Webzilla.

  Response: Admitted.

  Request No. 3: Admit that, prior to Buzzfeed’s publication of the Dossier, you made no attempt to
     contact XBT.

  Response: Admitted.

  Request No. 4: Admit that, at the time of Buzzfeed’s publication of the Dossier, you had no reason
     to believe that the allegations concerning Gubarev in the Dossier were true.

  Response: Denied.
  {01073176;v4}                                1
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 3 of 7



  Request No. 5: Admit that, at the time of Buzzfeed’s publication of the Dossier, you had no reason
     to believe that the allegations concerning Webzilla in the Dossier were true.

  Response: BuzzFeed objects to this request in that it assumes there are allegations in the Dossier

  “concerning Webzilla,” which BuzzFeed denies. To the extent any further response is necessary,

  BuzzFeed denies this Request.

  Request No. 6: Admit that, at the time of Buzzfeed’s publication of the Dossier, you had no reason
     to believe that the allegations concerning XBT in the Dossier were true.

  Response: Denied.

  Request No. 7: Admit that, at the time of Buzzfeed’s publication of the Dossier, you knew that it
     contained unverified information.

  Response: Admitted.

  Request No. 8: Admit that, at the time of Buzzfeed’s publication of the Dossier, you knew that it
     contained false information.

  Response: BuzzFeed objects to this question as vague and ambiguous. To the extent the question

  assumes that all the information in the Dossier was false, BuzzFeed denies this Request, and

  otherwise refers Plaintiff to the Article, which identifies a misspelling and fact that BuzzFeed knew

  to be false.

  Request No. 9: Admit that, at the time of Buzzfeed’s publication of the Dossier, you had reason to
     doubt the truth or veracity of portions of the Dossier.

  Response: BuzzFeed objects to this Request as vague and ambiguous, and notes that the Dossier is

  a 35-page document and the Request does not identify which “portions” of the Dossier are being

  referenced.

  Request No. 10: Admit that, at the time of Buzzfeed’s publication of the Dossier, you did doubt
  the truth or veracity of portions of the Dossier.

  Response: BuzzFeed objects to this Request as vague and ambiguous, and notes that the Dossier is

  a 35-page document and it does not identify which “portions” of the Dossier are being referenced.



  {01073176;v4}                                2
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 4 of 7



  Request No. 11: Admit that, prior to Buzzfeed’s publication of the Dossier, you did not redact the
  names of the Plaintiffs from the Dossier.

  Response: BuzzFeed objects to this Request to the extent it asserts that the Dossier refers to

  Plaintiff Webzilla, Inc., which BuzzFeed denies.

           Subject to, and without waiving, the foregoing objection, BuzzFeed admits that it did not

  redact the names “XBT/Webzilla” and “Aleksei GUBAROV” prior to publishing it.

  Request No. 12: Admit that, prior to Buzzfeed’s publication of the Dossier, you had the ability to
     redact the names of the Plaintiffs from the Dossier.

  Response: BuzzFeed objects to this Request to the extent it asserts that the Dossier refers to

  Plaintiff Webzilla, Inc., which BuzzFeed denies.

           Subject to, and without waiving, the foregoing objection, BuzzFeed admits that it had the

  technical ability to redact the names “XBT/Webzilla” and “Aleksei GUBAROV” from the Dossier

  prior to publishing it.

  Request No. 13: Admit that, prior to Buzzfeed’s publication of the Dossier, you considered the
     effect publication would have with respect to traffic to website and/or mobile platforms for
     Buzzfeed.

  Response: Admitted.

  Request No. 14: Admit that, prior to Buzzfeed’s publication of the Dossier, you considered the
     potential financial benefit to Buzzfeed in publishing the Dossier.

  Response: Denied.

  Request No. 15: Admit that, prior to Buzzfeed’s publication of the Dossier, you considered the
     benefits to Buzzfeed in being the first to publish the Dossier.

  Response: Admitted.




  {01073176;v4}                                3
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 5 of 7



  Request No. 16: Admit that, prior to Buzzfeed’s publication of the Dossier, you knew that other
     media outlets had refused to publish the Dossier.

  Response: BuzzFeed objects to this Request’s reference to other media outlets’ alleged “refus[al]

  to publish the Dossier” as vague and ambiguous. To the extent any further response is necessary,

  this request is denied.

  Request No. 17:       Admit that, prior to Buzzfeed’s publication of the Dossier, you knew that
     other media outlets had refused to publish the Dossier because the information contained
     therein was unverified.

  Response: BuzzFeed objects to this Request’s reference to other media outlets’ alleged “refus[al]

  to publish the Dossier” as vague and ambiguous. To the extent any further response is necessary,

  this request is denied.

  Request No. 18: Admit that Buzzfeed’s publication of the Dossier resulted in financial benefit to
     Buzzfeed.

  Response: Denied.

  Request No. 19: Admit that Buzzfeed’s publication of the Dossier resulted in increased advertising
     revenue for Buzzfeed.

  Response: Denied.

  Request No. 20: Admit that Buzzfeed’s publication of the Dossier resulted in increased traffic to
     the Buzzfeed website.

  Response: BuzzFeed objects to this request as vague and ambiguous.

  Request No. 21: Admit that Buzzfeed’s publication of the Dossier resulted in increased traffic to
     Buzzfeed’s mobile platform.

  Response: BuzzFeed objects to this request as vague and ambiguous.

  Request No. 22: Admit that, after the filing of the present action, Buzzfeed apologized to Gubarev.

  Response: BuzzFeed admits that it released the following statement on February 3, 2017: “We

  have redacted Mr. Gubarev's name from the published dossier, and apologize for including it,” and

  otherwise denies this Request.


  {01073176;v4}                               4
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 6 of 7



  Request No. 23: Admit that, after the filing of the present action, Buzzfeed redacted the names of
     the Plaintiffs from the Dossier

  Response: BuzzFeed objects to this Request to the extent it asserts that the Dossier refers to

  Plaintiff Webzilla, Inc., which BuzzFeed denies.

           Subject to, and without waiving, the foregoing objection, BuzzFeed admits that it redacted

  the words “XBT/Webzilla” and “Aleksei GUBAROV” from the Dossier on February 3, 2017.

  Request No. 24: Admit that Buzzfeed has never issued a retraction of the allegations contained in
     the Dossier concerning the Plaintiffs

  Response: Admitted.




  {01073176;v4}                                5
Case 0:17-cv-60426-UU Document 264-2 Entered on FLSD Docket 10/29/2018 Page 7 of 7




  Dated: July 17, 2017             Respectfully submitted,

                                   /s/ Katherine M. Bolger
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  {01073176;v4}                     6
